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Exhibit A

Capstone Engagement Letter
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Capstone Advisory Group, LLC
A S T O N 1065 Avenue of the Americas — Suite 180!
ee ‘ New York, NY 10018
212-782-1400 tetephone

212-782-1478 facsimile
ww .capstelesg.com

Effective January 26, 2009

Mr. Terry Zale

Vice President, Corporate Finance
Flextronics Corporation

305 Interlocken Parkway
Broomfield, Colorado 80021

Re: Nortel Networks Inc., et al.
Dear Mr, Zale:

This letter agreement (the “Agreement”) confirms the engagement of Capstone Advisory Group,
LLC (“Capstone”) by the Official Conimittee of Unsecured Creditors (the “Committee”) of
Nortel Networks Inc., et al. (the “Debtors”) to provide consulting services with respect to the
Chapter 11 reorganization cases (collectively, the “Chapter 11 Cases”) of the Debtors before the
United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) during the
term of this Agreement. We understand that this engagement is subject to Bankruptcy Court
approval; accordingly, this agreement is null and void in the event that Court approval is not
obtained.

In connection therewith, you have requested us to provide the following professional services:

1. advise and assist the Committee in its analysis and monitoring of the Debtors’ historical,
current and projected financial affairs, including without limitation, schedules of assets
and liabilities, statement of financial affairs, periodic operating reports, analyses of cash
receipts and disbursements, analyses of cash flow forecasts, analyses of intercompany
transactions, analyses of trust accounting, analyses of various asset and liability accounts,
analyses of cost-reduction programs, analyses of any unusual or significant transactions
between the Debtors and any other entities, and analyses of proposed restructuring
transactions;

2. analyze the Debtors’ Operative Business Plan, including forecasted operating statements,
balance sheets, cash flows and the related underlying assumptions and support thereto;
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develop a monthly monitoring report to enable the Committee to effectively evaluate the
Debtors’ performance on an ongoing basis,

monitor and analyze the Debtors’ cash position, liquidity, intercompany charges, and
financial results versus forecast and budget;

assist and advise the Committee and counsel in reviewing and evaluating any court
motions, applications or other forms of relief filed or to be filed by the Debtors, Canadian

Debtors or any other parties-in-interest;
analyze any intercompany charge financing arrangements;

monitor Debtors’ claims management process, analyze claims, analyze guarantees, and
summarize claims by entity;

analyze the impact of the bankruptcy filing on strategic alliances and long-term supply
agreements,

analyze any proposed critical vendor arrangements, current status of trade support and
monitor any subsequent changes in amounts and terms of credit extension;

advise and assist the Committee in identifying and/or reviewing preference payments,
fraudulent conveyances and other causes of action that the Debtors’ estates may hold

against third parties;

analyze the Debtors’ assets and analyze possible recovery to the various creditor
constituencies under various scenarios;

analyze alternative teorganization scenarios;

assist and advise the Committee in evaluating and analyzing restructuring proposals of
the Debtors and assist counsel and the Committee in developing negotiation strategies to
support the Committee’s position,

advise and assist the Committee in its assessment of proposed bonus, incentive and
retention plans;

advise and assist the Committee in reviewing any proposed sales or acquisitions of assets
or business units as to the impact on remaining business units;

advise and assist the Committee in its review of intercompany transactions between the
Debtors’ and non-debtor subsidiaries and affiliates;
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17. render expert testimony as requested from time to time by the Committee and counsel,
regarding the feasibility of a plan of reorganization and other matters;

18. attend Committee meetings and court hearings as may be required in the role of advisors
to the Committee; and

_ 19. provide other services that are consistent with the Committee’s role and duties as may be
requested from time to time.

In addition to these specific services, we understand that we may be requested to participate, at
your request and to the extent appropriate, in meetings and discussions with the Committee, the
Debtors, and the other parties-in-interest and with their respective professionals.

We will submit our evaluations and analyses pursuant to this engagement in periodic oral or
written reports. Before submitting our reports to you, it may be necessary and appropriate for us
to review certain information with management or the advisors of the Debtors for accuracy and
validity. Written reports will not be given to the Debtors without your prior approval.

In order for us to perform our services, it will be necessary for our personnel to have access to
certain books, records and reports of the Debtors, and have discussions with their personnel.
Accordingly, we assume that the Debtors have agreed to cooperate with our personnel, and to
make available their personnel and any books, records and other sources from which data can be
. obtained. .

We will perform our services in a manner which, we believe, will permit the business operations
of the Debtors to proceed in an orderly manner, subject to the requirements of this engagement,
our personnel may need to be on site to review data located at the offices of the Debtors and to
discuss matters with their personnel.

Our reports will encompass only matters that come to our attention in the course of our work that
we perceive to be significant in relation to the objectives of our engagement. Because of the
time and scope limitations implicit in our engagement and the related limitations on the depth of
our analyses and the extent of our verification of information, we may not discover all such
matters or perceive their significance. Accordingly, we will be unable to and will not provide
assurances in our reports concerning the integrity of the information used in our analyses and on
which our findings and advice to you may be based. We understand that we are not being
requested to perform an audit nor apply generally accepted auditing standards or procedures. We
understand that we are entitled, in general, to rely on the accuracy and validity of the data
disclosed to us or supplied to us by employees and representatives of the Debtors. We will not,
nor are we under any obligation to; update data submitted to us or review any other areas unless
you specifically request us to do so.
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Our work will be performed on a “level-of-effort” basis; that is, the circumstances of our
engagement may cause our advice to be limited in certain respects based upon, among other
matters, the extent of sufficient and available data and the opportunity for supporting
investigations in the time period.

We understand that the Committee has agreed to treat any information received from Capstone,
whether orally or in writing, with the utmost confidentially and, except as provided in this letter,
will not publish, distribute or disclose in any matter any information developed by or received
from us without our prior or written approval. Such approval shall not be unreasonably
withheld. Our approval is not needed if (a) the information sought is required to be disclosed by
an order binding on the Committee, Akin, Gump, Strauss, Hauer & Feld LLP, as counsel to the
Committee, or Capstone, issued by a court having competent jurisdiction over Capstone (unless
such order specifies that the information to be disclosed is to be placed under seal) (6) such
information is otherwise publicly available, or (c) such information is shared with you by the
Debtors.

We agree that all information, not publicly available, which is received by us from you or the
Debtors in connection with this engagement, will be treated confidentially by Capstone, except
as required by process of law or as authorized by you.

Our fees will be based on the actual hours charged at our standard hourly rates, which are in
effect when the services are rendered; our rates are revised annually on or around January 1. We
will also seek reimbursement for our reasonable out-of-pocket expenses including, but not
limited to, costs of reproduction, typing, research, communications, computer usage, our legal
counsel, and other direct expenses incurred in connection with Capstone providing professional
services to the Committee. Our current hourly rates are as follows:

Executive Director $550 - $795
Staff $250 - $625
Support Staff $110 - $170

We will submit to the Bankruptcy Court monthly fee applications for all services rendered and
expenses incurred during the prior month, as well as interim and final fee applications. It is our
understanding that all invoices will be paid by the Debtors, subject to the applicable provisions
of the Bankruptcy Code, the Bankruptcy Rules and the local rules of the Court with jurisdiction,
and pursuant to any additional procedures that may be established by the Bankruptcy Court
specific for this matter, We acknowledge that neither the Committee nor any of its individual
members shall have any obligation to pay our fees.

We confirm that no member of Capstone has any financial interest or business connection with
the Debtors and, as more fully described in Mr. Borow’s affidavit in support of Capstone’s
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retention by the Committee, we are aware of no matter that would constitute a conflict in
connection with this engagement.

In connection with our engagement to provide consulting services to the Committee, the Debtors
agree to indemnify and hold harmless Capstone against any and all loses, claims, damages,
liabilities, penalties, judgments, awards, costs, fees, expenses and disbursements including,
without limitation, the defending any action, suit, proceedings or investigation (whether or not in
connection with a proceeding or litigation in which Capstone is a party), directly or indirectly,
caused by, related to, based upon, arising out of or in connection with the engagement of
Capstone or any services rendered pursuant to such engagement, unless there is a final non-
appealable order of a court of competent jurisdiction, finding Capstone directly liable for gross
negligence or willful misconduct. The foregoing indemnification obligations of the Debtors
shall survive any termination of this Agreement. These indemnification provisions extend to the
members and employees of Capstone. All requests for payment of indemnity provided herein
shall be made by means of an application and review of the Bankruptcy Court in accordance with
an order of the Bankruptcy Court approving the Committee’s engagement of Capstone. We
acknowledge that neither the Committee nor any of its individual members shall have any
liability hereunder for the indemnification in favor of Capstone by the Debtors.

Notwithstanding anything to the contrary contained herein, Capstone shall have the right to
disclose its retention and/or the successful completion of its services hereunder in advertisement
describing its services placed, at its own expense, in financial and other newspapers or otherwise.

It is understood that if any of the employees of Capstone are required to testify at any
administrative or judicial proceedings relating to this matter, we will seek to be compensated at
our regular hourly rates, in effect at the time, and reimbursed for reasonable out-of-pocket
expenses (including counsel fees), We acknowledge that neither the Committee nor any of its
individual members shall have any obligation to pay such compensation or make such
reimbursement

This Agreement (a) constitutes the entire agreement of the parties with respect to the subject
matter hereof and supersedes any other communications, understandings or agreements (both
written and oral) among the parties with respect to the subject matter hereof, and (b) may be
modified, amended or supplemented only by written agreement among all the parties hereto.

It is our intention to work closely with you and to discuss our engagement regularly. This should
facilitate our progress and serve to confirm or modify the scope of our engagement on an
ongoing basis.
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We look forward to working with you on this matter. Please sign and return a copy of this
engagement letter signifying your agreement with the terms and provisions herein. If you have
any questions, please call Jay Borow or Chris Kearns at 212-782-1411 or 212-782-1409,
respectively,

Respectfully submitted,
Coysrew Mlwseq Gvoy, WC
Capstone Advisory Group, LLC
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Agreed by:

The Official Committee of Unsecured Creditors
of Nortel Networks Inc, et al.

by its Chair, Flextronics Corporation

By:
Terry Zale

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respectively.

Respectfully submitted,

Capstone Advisory Group, LLC

Agreed by:

The Official Committee of Unsecured Creditors
of Nortel Networks Inc., et al.

by its Chair, Flextronics Corporation, solely in its
capacity as Chair and not in its individual capacity

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Terry’
Vice President, Corporate Finance

